82 F.3d 433
    NOTICE: Federal Circuit Local Rule 47.6(b) states that opinions and orders which are designated as not citable as precedent shall not be employed or cited as precedent.  This does not preclude assertion of issues of claim preclusion, issue preclusion, judicial estoppel, law of the case or the like based on a decision of the Court rendered in a nonprecedential opinion or order.Arturo WEAVER, Petitioner,v.DEPARTMENT OF JUSTICE, Respondent.
    No. 96-3115.
    United States Court of Appeals, Federal Circuit.
    March 1, 1996.
    ORDER
    
      1
      The order of dismissal and the mandate dated February 23, 1996 having been issued in error, the same hereby are, VACATED and RECALLED, and the notice of appeal is REINSTATED.
    
    
      2
      Petitioner's informal brief is due on or before 21 days from the date of this order.
    
    